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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

JOHN L. LOTTER,                         )
                                        )
                   Petitioner,          )                 4:04CV3187
                                        )
            v.                          )
                                        )
SCOTT FRAKES, Director,                 )                   ORDER
Nebraska Department of Correctional     )
Institutions,                           )
                                        )
                   Respondent.          )
                                        )


      After consultation today with counsel for all sides and with their agreement,

      IT IS ORDERED that:

      1.    Counsel are to advise me by filing a notice in the CM/ECF filing system
            when both of the following things have occurred: (a) resolution of the
            petition for certiorari now pending in the Supreme Court regarding this
            case; and (b) resolution of the consolidated appeals by the Nebraska
            Supreme Court regarding the state post-conviction matters.

      2.    Upon the filing of the foregoing advice, my chambers shall call this
            matter to my attention and I will enter an order for a status conference.

      DATED this 4th day of January, 2018.

                                      BY THE COURT:

                                      s/ Richard G. Kopf
                                      Senior United States District Judge
